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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                              WACO DIVISON

JEREMY BRAVO, LINDSEY                     §
NGUYEN, “P.P.”, AND “D.D.,” FOR           §
THEMSELVES AND AS CLASS                   §
REPRESENTATIVES,                          §
                                          §
       Plaintiffs.                        §
v.                                        §       CIVIL ACTION NO. 6:21-CV-162
                                          §
NANCY PELOSI, MITCH                       §
McCONNELL, CHUCK SCHUMER,                 §
MARK ZUCKERBERG, BRAD                     §
RAFFENSPERGER, ALL                        §
MEMBERS OF THE 117TH U.S.                 §
CONGRESS, ALL 50 STATE                    §
GOVERNORS AND SECRETARIES                 §
OF STATE, JACK DORSEY, MIKE               §
PODHORZER, PETE SESSIONS,                 §
DEMOCRATIC CONGRESSIONAL                  §
CAMPAIGN COMMITTEE,                       §
DEMOCRATIC SENATE                         §
CAMPAIGN COMMITTEE,                       §
REPUBLICAN NATIONAL                       §
COMMITTEE,                                §
                                          §
       Defendants.                        §       JURY TRIAL REQUESTED

                 PLAINTIFFS’ CLASS ACTION COMPLAINT
                AND APPLICATION FOR INJUNCTIVE RELIEF

      COME NOW, Jeremy Bravo, Lindsey Nguyen, “P.P.,” and “D.D.” (collectively,

with the putative class members “Plaintiffs”), by and through their attorney, Paul M.

Davis, for themselves and as representatives of a class of injured parties, which is all

328 million Americans deprived of an elected form of government, respectfully

represent the following to this Honorable Court:




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                                          I.
                                  INTRODUCTION:
    This, the People’s Lawsuit gives notice that the era of rule by the wealthy
           elites and rule of their corrupt two-party system is now over.

         1.      Plaintiffs’ lawsuit (the “People’s Lawsuit” or “Lawsuit”) is unlike any

other lawsuit that has been before the American courts related to the 2020 elections

because it does not seek a political outcome, but a constitutional outcome. It also does

not challenge the outcome in the presidential election, except to the extent that

Congress had no authority to confirm Mr. Biden and Ms. Harris as “President-elect”

and “Vice President-elect,” respectively. This is because the 117th Congress is itself

illegitimate as the fruit of an unconstitutional 2020 congressional election process.

Unlike the presidential election lawsuits recently dismissed by the Supreme Court,

this lawsuit does not depend on any allegations of “election fraud” because the

members of Congress themselves willfully participated in a conspiracy to violate

federal congressional election laws, which clearly preempt state law under Article I,

§ 4 of the Constitution.

         2.      These laws were put in place long ago for the very purpose of protecting

all Americans from ballot box stuffing and all other fraudulent schemes designed to

deprive Americans of their “most precious” right: “the right to choose their own

officers for governmental administration.”1 When the very laws put in place to

prevent the theft of, or perhaps more accurately, the purchase of the federal elections

by the wealthiest and most powerful Americans using the tax dollars of working class



1
 Duncan v. McCall, 139 U.S. 449, 461 (1891); United States v. State of Tex., 252 F. Supp. 234, 250–51 (W.D. Tex.),
aff'd sub nom. Texas v. United States, 384 U.S. 155 (1966).


                                                         2
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Americans and obscene profits from the cattle-like commoditization of human beings

on social media and elsewhere, no proof of fraud is necessary. The violation of the

election integrity laws themselves is enough to show violations of constitutional

rights. The People’s Lawsuit sets forth conclusive, irrefutable proof of such violations.

        3.       The People’s Lawsuit is unlike any other lawsuit in history because it is

the first time that a class of all Americans, who are not members of the wealthiest

1%, the political elite, or the corporations that all run the corrupt two-party system,

has sued to win back their constitutional rights to a representative form of

government. Plaintiffs sue to reestablish the nation that was originally envisioned

and framed by their forefathers, the revolutionaries who laid down their lives and

everything they held dear, to establish the first nation in world history that was a

government of the people, by the people, and for the people.

        4.       The People’s Lawsuit is about how both state and federal officials acted

together as both “Democrats” and “Republicans” and as part of a “well-funded cabal”2

and “conspiracy”3 with various private persons, including persons in the news media,

social media, and technology industry, high net worth individuals, and others, to

willfully deprive the American People of their “most precious” and fundamental right:

the right to the “Republican Form of Government” guaranteed by Article IV, Section

4 (the “Guarantee Clause”) of the Constitution of the United States and other

fundamental civil rights.



2
  Molly Ball, The Secret History of the Shadow Campaign That Saved the 2020 Election, TIME (Feb. 4, 2021), p. 6,
attached hereto at Exhibit 1 and available at https://time.com/5936036/secret-2020-election-campaign.
3
  Id.


                                                         3
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           5.       The “Cabal” is now at an end. No longer will these wealthy elites rule

“We The People of the United States.”4 Our Founding Fathers already paid for the

rights and the relief set forth in this Lawsuit with their own blood.              No court,

including this one, has any legitimate right to deny such rights and the enforcement

thereof. The era of the elite class is now at an end.

       A. Supreme Court explains the guarantee to the people of “Republican
          Form of Government” in the Constitution.

           6.       In an 1891 opinion affirming this most honorable and storied Western

District of Texas, the Supreme Court concluded: “By the constitution, a republican

form of government is guarantied5 to every state in the Union, and the

distinguishing feature of that form is the right of the people to choose their

own officers for governmental administration, and pass their own laws in virtue

of the legislative power reposed in representative bodies, whose legitimate acts

may be said to be those of the people themselves; but while the people are thus

the source of political power, their governments, national and state, have been limited

by written constitutions, and they have themselves thereby set bounds to their own

power, as against the sudden impulses of mere majorities.” Duncan v. McCall,

139 U.S. 449, 461 (1891) (emphasis added).

           7.       It is truly ironic that the Duncan case originated in the Western District

of Texas.          The Supreme Court’s most robust explanation, in Duncan, of the

Constitution’s Guarantee Clause, which reads, “The United States shall guarantee



4
    U.S. Constitution, Preamble.
5
    An alternate, more archaic spelling of the word.


                                                       4
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to every State in this Union a Republican Form of Government,”6 captures the very

essence of Plaintiffs’ action before this Court. At its core, Plaintiffs’ cause of action is

very simple: the acts of Defendants described herein have both the result and the aim

of depriving Plaintiffs of their most fundamental right, the right to a republican form

of government, which is government “deriving their just powers from the consent of

the governed,”7 a government “of the people, by the people, and for the people.”8

Plaintiffs’ come before this Court because, as demonstrated herein, Defendants have

stripped them of this most sacred of human rights and other fundamental rights.

        8.       Considering that one of the most renown opinions to come out of the

Western District of Texas was a minority voting rights case striking down the Texas

poll tax, it is almost as if the Western District of Texas were destined to enter the

relief requested in this lawsuit. In United States v. Texas, the Court opined, “the

right to vote” is “our most precious right . . . the essence of a democratic society.”

United States v. State of Tex., 252 F. Supp. 234, 250–51 (W.D. Tex.), aff'd sub nom.

Texas v. United States, 384 U.S. 155 (1966). By this complaint, Plaintiffs request that

the Court preserve our “Republican Form of Government” and the “democratic

society” on which it stands.




6
  U.S. CONST. art. IV, § 4.
7
  The Declaration of Independence para. 2 (U.S. 1776).
8
  Abraham Lincoln, The Gettysburg Address para. 3 (Nov. 19, 1863).


                                                       5
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       B. “Sudden impulses of mere majorities.”

           9.       The terms “democracy” and republic,” are often used interchangeably.

In fact, they are not interchangeable. Black’s Law Dictionary gives the following

definition for republic:

                 A system of government in which the people hold sovereign power
                 and elect representatives who exercise that power. • It contrasts
                 on the one hand with a pure democracy, in which the people or
                 community as an organized whole wield the sovereign power of
                 government, and on the other with the rule of one person (such as
                 a king or dictator) or of an elite group (such as an oligarchy,
                 aristocracy, or junta).

REPUBLIC, Black's Law Dictionary (11th ed. 2019).                                     The “pure democracy,”

described in this definition, inevitably results in the tyranny of “mere majorities”

described by the Supreme Court in Duncan. See 139 U.S. at 461 (“limited by written

constitutions . . . as against the sudden impulses of mere majorities”). Under a

“democracy,” even a razor thin 51% ideological majority can quickly descend into

oppressive government persecution of the 49% minority. As we have seen throughout

history, it is human nature to control and subjugate the “minority.” This is why the

framers of the Constitution created a “republic” with checks and balances to avoid a

situation in which a mere 51% majority runs roughshod over the rights of the

minority based on their “sudden impulses.”

           10.      Democrats currently hold a literal 51% majority9 in the House of

Representatives, a “50 plus one”10 advantage in the Senate, and, having “won” a

presidential Electoral College vote in which the “popular vote,” as officially reported,


9
    222 out of 435 total seats is exactly 51%.
10
     With Kamala Harris, as “President of the Senate,” acting as the tie-breaking vote.


                                                            6
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came to 51.3% for Joe Biden,11 hold the Executive Branch with razor-thin popular

support. Despite appearing to take both Congress and the Presidency with a mere

51% “majority,” the Democrats have already enacted dramatic and sweeping policy

changes through “Executive Orders”12 and stand ready to pass essentially permanent

changes to the laws of the United States through legislation, 13 which they may even

force through via the “nuclear options” of eliminating Senate “guardrails” such as the

“filibuster” and the “Byrd Rule.”14

        11.      Certainly, such a situation is itself cause for alarm as it gives the distinct

appearance that our Nation has reached the exact situation warned of in Duncan

where a “mere majority” is poised to cram down their “sudden impulses” on the 49%

“minority.”      However, the current situation is actually infinitely worse than it

appears.

     C. Molly Ball of TIME lays out how Defendants deprived Plaintiffs of
        their right to a “Republican Form of Government.”

        12.        A conspiracy to deprive Americans of the republican form of

government, a form of government that has existed (albeit to an ever-diminishing

extent) since the Constitution of the United States went into effect in March of 1789,

would obviously need to be well-funded, with many moving parts and actors in



11
   2020 National Popular Vote Tracker, THE COOK POLITICAL REPORT, available at https://cookpolitical.com/2020-
national-popular-vote-tracker.
12
   See Temporary Restraining Order (Doc. 10-1 “Alternate Proposed TRO”), pp. 4–5.
13
   See Memorandum to Support Entry of Alternative Temporary Restraining Order (Doc. 10), ¶¶ 3–9 and footnotes.
14
   See Dave Hoppe, Democrats Flirt with Destroying Another Senate Guardrail, NATIONAL REVIEW (Feb. 15, 2021)
available at https://www.msn.com/en-us/news/politics/democrats-flirt-with-destroying-another-senate-
guardrail/ar-BB1dH5T7 (The “Byrd Rule,” similar to the filibuster, “limits the ability of the majority to stuff
extraneous legislative goodies into budget-related proposals and pass them with a simple-majority vote under that
process.”).


                                                       7
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powerful places, and would need to be secret, since an overwhelming majority of

Americans, presumably, still strongly believe in government “of the people, by the

people, and for the people.”                  Describing such a conspiracy to the Court is a

monumentally difficult task in a time where any attempt to contravene the prevailing

narrative in popular news media and on social media is immediately dismissed as a

“conspiracy theory” and its progenitors labeled as “crackpots,” which is, indeed, part

of the strategy to “control the flow of information.”

           13.      Fortunately, in what is nothing short of a godsend to Plaintiffs, Molly

Ball of TIME and other TIME reporters credited in Secret History,15 essentially did

most of Plaintiffs’ work for them. In an article dated February 4, 2021, Ms. Ball

conveniently, and in detailed fashion, laid out The Secret History of the Shadow

Campaign That Saved the 2020 Election (the “Secret History”). See Exhibit 1. In

her Secret History, Ball describes the “conspiracy to save the 2020 election” as

something its participants want told:

                 That’s why the participants want the secret history of the 2020
                 election told, even though it sounds like a paranoid fever dream—
                 a well-funded cabal of powerful people, ranging across industries
                 and ideologies, working together behind the scenes to influence
                 perceptions, change rules and laws, steer media coverage and
                 control the flow of information. They were not rigging the
                 election; they were fortifying it. And they believe the public needs
                 to understand the system’s fragility in order to ensure that
                 democracy in America endures.

Id., p. 6 (emphasis added). Of course, Ball inserts the last sentence as a thinly-veiled

attempt to whitewash Defendants’ conspiracy as an effort “to ensure that democracy



15
     Secret History, p. 26 (“With reporting by Leslie Dickstein, Mariah Espada, and Simmone Shah”)


                                                          8
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in America endures.” However, the apparent goal of the “conspiracy,” as described in

the article’s opening paragraphs, was “Trump’s ouster.” Id. at p. 1.

        14.      Plaintiffs could likely state their entire claims upon which relief could

be granted by merely cutting and pasting only the Secret History in its entirety into

the factual allegations section and omitting the “whitewashing” statements about

“protecting democracy.” Indeed, this entire section of this Original Complaint is

intended, not only as an introduction, but also as factual allegations and Plaintiffs’

hereby incorporate all factual allegations in this entire introductory section, by

reference, into the Statement of Facts below, as though fully set forth therein.

Despite media coverage to the contrary,16 as stated at the outset in the Original

Complaint (Doc. 1), this Lawsuit is not about changing the “declared winner” of the

“2020 Presential Election.”

     D. Secret History reveals how the 2020 Federal Election had little to do
        with the “will of the people.”

        15.      Rather, this Lawsuit is about remedying Plaintiffs’ constitutional rights

to “choose their own officers for governmental administration”17—to elect their

representatives to government. Secret History gives a shocking detailed account

about how the 2020 Federal Election had almost nothing to do with the “will of the

people.”18 Instead, it had everything to do with a political power play by a “well-

funded cabal of powerful people” (the “Cabal”).19


16
   See Memorandum to Support Entry of Alternative Temporary Restraining Order (Doc. 10), ¶ 1.
17
   Duncan, 139 U.S. at 461.
18
   Secret History at p. 26.
19
   The term Cabal is intended at all times to be used to include Defendants named herein as well, all of whom were
participants in the conspiracy described in Secret History.


                                                        9
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        16.      Indeed, it is difficult to decide on the most appallingly horrific paragraph

from Secret History that sums up Defendants’ nefarious conspiracy, but the following

paragraph is about as good as any. In depicting a truly disturbing “battle”20 between

the Cabal and Trump, where the two camps try to outmaneuver each other to

influence certification of the Michigan vote, Secret History states the following:

              The pro-democracy forces were up against a Trumpified Michigan
              GOP controlled by allies of Ronna McDaniel, the Republican
              National Committee chair, and Betsy DeVos, the former
              Education Secretary and a member of a billionaire family of GOP
              donors. On a call with his team on Nov. 18, Bassin21 vented that
              his side’s pressure was no match for what Trump could offer. “Of
              course he’s going to try to offer them something,” Bassin recalls
              thinking. “Head of the Space Force! Ambassador to wherever! We
              can’t compete with that by offering carrots. We need a stick.”

Secret History, p. 23. This paragraph is a microcosm of how corrupt the American

political system has become. Not even a popular, “populist” candidate like President

Trump could win an election in such a system without having to try and beat the

Cabal at its own game on occasion.

        17.      The most nauseating aspect of Secret History is that Ms. Ball is actually

bragging about the efforts of these shadowy members of the Cabal, acting behind the

scenes to manipulate the election outcome, as heroic. Ball, an obvious sycophant, if

not an outright member, of the Cabal, casts the Cabal, which she further described

as an “informal alliance between left-wing activists and business titans,”22 as the




20
   Id. at 20 (“ But the battle wasn’t over.”).
21
   Ian Bassin, Co-founder of “Protect Democracy,” a group included in Secret History as part of the “Cabal.”
22
   Secret History, p. 2.


                                                        10
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protagonists of TIME’s epic poem because, of course, they opposed the wicked villain,

Donald Trump.

        18.      What is conspicuously missing from her account, however, is any

apparent concern for the actual will of American voters. Ball gives lip service to it, of

course. It would defeat the purpose of the Cabal to fully give away their con of the

American People. But the lack of concern (or possibly outright disdain) for the will of

American voters is belied throughout the article. The “concern for democracy” is

actually expressed as grave concern that voters would, in fact, do the unthinkable and

cast a vote for Donald J. Trump.

     E. Secret History reveals, ironically, the “concern for democracy” was,
        in fact, a concern regarding for whom Americans would vote.

        19.      Mike Podhorzer, whom Ball describes as “The Architect,” allegedly

orchestrated the entire conspiracy out of a concern that support for Donald Trump

had cut into the Democrat’s traditional grip on the voting bloc of “blue collar white

voters” who comprise much of the membership in the well-known Democrat

stronghold, the AFL-CIO labor union. Id. at p. 7. So, “[h]e began circulating weekly

number-crunching memos to a small circle of allies and hosting strategy sessions in

D.C.” According to Ball, everything apparently grew from there. In other words, the

entire original purpose of the Cabal was to make sure that traditional Democrat

voters did not defect from the ranks to vote for a populist23 candidate, Donald Trump.




23
  See, e.g., Noah Bierman, Even if Trump loses, Trumpism may outlast him, THE LOS ANGELES TIMES (Oct. 23, 2020)
available at https://www.latimes.com/politics/story/2020-10-23/even-if-trump-loses-trumpism-may-outlast-him


                                                       11
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       20.    Secret History is written in language to give the appearance that the

Cabal acted out of some grave concern for “democracy,” when in fact it reveals the

exact opposite. The Cabal carried out their conspiracy out of fear that people would

actually vote for Donald Trump. This much is abundantly clear in several additional

statements made throughout Secret History.            On page 15, Ball reports that

Podhorzer, in organizing the Cabal, “was warning everyone he knew that polls were

underestimating Trump’s support.” On page 19, it describes the Democrat “despair”

on election night that “Trump was running ahead of pre-election polling, winning

Florida, Ohio, and Texas easily and keeping Michigan, Wisconsin and Pennsylvania

too close to call.” However, Podhorzer, “was unperturbed” because the “surge” in

Trump’s support was exactly what he had planned for. Id. at p. 19. Apparently, the

Cabal had already made sure the fix was in to thwart the will of anyone who voted in

a way that “business titans” (specifically including those in the “U.S. Chamber of

Commerce”), the “AFL-CIO,” “left-wing activists,” their allies in the news media,

social media, and technology industries, and federal, state, and local level officials (all

included in Secret History as members of the “Cabal”) did not like.

   F. Similar tactics used to sink Bernie Sanders, the Democrat populist
      candidate.

       21.    What is incredibly ironic, is that while TIME describes the Cabal as

composed overwhelmingly of left-wing progressives, supporters of populist Democrat

candidate, Bernie Sanders, may note similarities between Ball’s description of the

“shadow campaign” against Trump to the demise of the Sanders campaign. Sanders

held frontrunner status in the 2020 Democrat presidential primary until the eve of



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“Super Tuesday.” As The Guardian reports: “Sanders’ ascent set off panic among

[Democrat] party officials and leaders. Swing-district Democrats warned Sanders

would hurt their chances of re-election, while members24 of the Democrat National

Committee plotted to stop him if he arrived at the convention shy of the delegates

need to win the nomination outright.25                       According to The New York Times,

“Interviews with dozens of Democratic Party officials, including 93 superdelegates,

found overwhelming opposition to handing Mr. Sanders the nomination if he fell

short of a majority of delegates.”26 Party leaders were “willing to risk intraparty

damage to stop his nomination at the national convention in July if they get the

chance.”27 In other words, just as in regard to Trump, the political establishment

would do whatever it had to in order the thwart the will of the people in electing an

establishment outsider.

        22.      There is no question Sanders was the anti-establishment populist

candidate from the left. If his frontrunner status had continued, it would have set up

a worst-nightmare scenario for the political establishment and “corporate elite”

where, for the first time in modern American history, if ever, the presidential election

would be a choice between TWO anti-establishment populist candidates. Jennifer

Epps-Addison, the president of the Center for Popular Democracy, which endorsed


24
   According the corporate documents and by-laws, only leaders of this partisan entreprise can be “members of the
Democrat National Committee.”
25
   Lauren Gambino, How Bernie Sanders went from frontrunner to the last-chance saloon, THE GUARDIAN (Mar. 15,
2020) available at https://www.theguardian.com/us-news/2020/mar/15/bernie-sanders-vermont-senator-
socialist-democratic-party.
26
   Lisa Lerer and Reid J. Epstein, Democratic Leaders Willing to Risk Party Damage to Stop Bernie Sanders, The New
York Times (Mar. 2, 2020) available at https://www.nytimes.com/2020/02/27/us/politics/democratic-
superdelegates.html.
27
   Id.


                                                       13
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Sanders, stated: “We’re taking on not only the corporate elite of this party but the

billionaire class, the pharmaceutical industry, the prison industrial complex, Wall

Street, the insurance companies.”28

         23.      The Washington Post, self-proclaimed sentinels against the death of

“Democracy”29 “in Darkness,” described “striking” similarities between Trump

supporters and Bernie supporters in an article entitled, Trump and Sanders lead

competing populist movements, reshaping American politics: “Each is powered by a

disdain for elites they perceive as having flourished while other Americans suffered,

a rejection of the establishment and the figures who have controlled it, and a

contempt for the institutions that over the decades have blunted, as they see it, the

success of efforts like theirs.” Even a broken clock is right twice per day, and The

Washington Post hit the nail on the head with this statement.

         24.      It is this class of “populists” for which Plaintiffs now sue, those who are

sick and tired of being treated like cattle by this elite establishment. Plaintiffs are

tired of having to choose between the “lesser of two evils” establishment candidates

every four years. President Trump and Senator Sanders were anti-establishment

candidates who won the hearts of common, everyday Americans, who then saw their

candidates eventually destroyed by the Cabal.

         25.      The Trump camp differs from the Bernie camp only in the means of

resolving the same problem and the best man for the job.                                 There should be no


28
  Id.
29
  Strangely, none of these publications ever seem to reference a “republic” as defined further above. It is always
“democracy,” which would seem to drive the very narrative that the tyranny of a 51% majority is exactly what the
Constitution prescribes, when it clearly is not. Plaintiffs contend this is yet another willful tactic of Defendants.


                                                         14
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disagreement between the two camps that Defendants are the problem and have

caused severe injuries to the constitutional rights of Plaintiffs. It is time for the

corrupt two-party system to end and for the People to rule themselves once again, as

intended by the founding fathers.

   G. Secret History essentially states Plaintiffs’ causes of action for them.

      26.    As stated at the outset in the Original Complaint, this Lawsuit does not

address “election fraud.” Likely, evidence of election fraud will be brought forth in

the course of the Lawsuit to show intent of the Defendants or bolster other elements,

but such evidence is not necessary for Plaintiffs to prevail on their claims. Rather

this lawsuit is about how, to carry out their conspiracy to deprive Plaintiffs of their

constitutional rights, Defendants altered the rules and procedures of the 2020

Federal Elections in all 50 states, and including Guam, Puerto Rico, and the District

of Columbia (collectively, with the 50 States, the “Voting Districts”) in a manner that

severely and pervasively violated the election integrity safeguards enacted by

Congress in the Help America Vote Act of 2002, as amended, 52 U.S.C. §§ 20901–

21145 (“HAVA”) and Section 301–302 of the Civil Rights Act of 1960, 52 U.S.C. §§

20701–02 (the “1960 CRA”) (collectively, HAVA and the 1960 CRA, the “Election

Integrity Safeguards”).

      27.    Secret History discusses this conspiracy to violate these Election

Integrity Safeguards, starting on page 10 under the subheading “Securing the Vote.”

One particularly disturbing, yet telling paragraph in the article comes earlier where,

after Ball discusses Podhorzer’s attempts to expand his Cabal by finding “liberals who




                                          15
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saw Trump as a dangerous dictator,” she credits Podhorzer with concluding:

“America’s decentralized election system couldn’t be rigged in one fell swoop. That

presented an opportunity to shore it up.” The attempt to “shore it up,” however, was

actually the scheme to violate the Election Integrity Safeguards, primarily through

the expansion of mail-in or absentee voting (collectively, “Mail-In Voting”). Secret

History, pp. 10–12.

      28.    Of course, the Cabal, composed in large part, of the Defendants in this

lawsuit, needed funding to violate the Election Integrity Safeguards, $400 million of

which, they received from Congress in the CARES Act, and $300 million of which

they received from Defendant Mark Zuckerberg’s Chan Zuckerberg Initiative. Id. at

p. 10. Amber McReynolds’s “National Vote at Home Institute, then provided the state

and local level officials, including the Defendants who are secretaries of state, all the

“technical advice” they needed to apply the funds. Id. at 10–11. The Cabal enabled

state and local officials to “bolster” mail-in voting in “37 states and D.C.” Id. at 11.

Despite lawsuits “brought by the Trump campaign to sow doubt about mail voting,”

the Cabal was able to achieve an incredible feat: “In the end, nearly half the electorate

cast ballots by mail in 2020, practically a revolution of how people vote. About a

quarter voted early in person.      Only a quarter of voters cast their ballots the

traditional way: in person on Election Day.” Id. at 12.

      29.    What is fascinating about the intense focus on Mail-In Voting by the

Cabal/Defendants, composed of a “constellation of operatives across the left”, a

“progressive movement” that apparently also contained many “bipartisan” actors




                                           16
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from the Republican side,30 is that, prior to 2020, Mail-In Voting had been almost

universally condemned in America as an inherently unsecure method of voting.

See, e.g., Liptak, Error and Fraud at Issue as Absentee Voting Rises, NEW YORK

TIMES (Oct. 6, 2012) (“[A]bsentee voting replaces the oversight that exists at polling

places with something akin to an honor system.”); Marks v Stinson, CIV. A. 93-

6157, 1994 WL 146113, at *1 (E.D. Pa. Apr. 26, 1994) (finding supposedly prevailing

candidate “conducted an illegal absentee ballot conspiracy and that the [election

officials] covertly facilitated the scheme”).

             30.       In fact, former President Jimmy Carter and former Secretary of State,

Jim Baker, released a bi-partisan report in 2005 entitled “Building Confidence in U.S.

Elections,” which made the following conclusions:

                    Fraud occurs in several ways. Absentee ballots remain the largest
                    source of potential voter fraud. A notorious recent case of
                    absentee ballot fraud was Miami’s mayoral election of 1998, and
                    in that case, the judge declared the election fraudulent and called
                    for a new election. Absentee balloting is vulnerable to abuse in
                    several ways: Blank ballots mailed to the wrong address or to
                    large residential buildings might get intercepted. Citizens who
                    vote at home, at nursing homes, at the workplace, or in church
                    are more susceptible to pressure, overt and subtle, or to
                    intimidation. Vote buying schemes are far more difficult to detect
                    when citizens vote by mail. States therefore should reduce the
                    risks of fraud and abuse in absentee voting by prohibiting “third-
                    party” organizations, candidates, and political party activists
                    from handling absentee ballots. States also should make sure that
                    absentee ballots received by election officials before Election Day
                    are kept secure until they are opened and counted.

REPORT OF THE COMMISSION ON FEDERAL ELECTION REFORM, BUILDING CONFIDENCE

IN    U.S. ELECTIONS (2005), p. 46 (the “Carter-Baker Report”). Not surprisingly, but


30
     Id. at 4, 7.


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eerily in keeping with the apparent vast reach of the Cabal to “control the flow of

information,”31 the Carter-Baker Report has mysteriously disappeared from the

website of American University’s Center for Democracy and Election Management,

which facilitated the Commission and was the internet home of the Report until, very

recently. This is evident by several internet searches for the document, leading to

the link that is now defunct.32 For the utterly disingenuous Cabal, it seems that

actual measures to enhance election integrity are part of the “disinformation” to be

“controlled.” Notably, even The New York Times reported on the inherent insecurity

risks of Mail-In Voting in 2012, and over 60% of European countries and many other

developed countries around the world ban the practice, except for citizens living

overseas.33

     H. The Court cannot dismiss the Lawsuit on the grounds articulated in
        the Show Cause Order in the Latinos for Trump lawsuit.

         31.      On January 27, 2021, the Court entered a Show Cause Order (Doc. 10)

(the “Show Cause Order”) in the lawsuit Latinos for Trump et al., v. Sessions et al.

No. 6:21-cv-00043 (W. Dist. Tex. 2021) stating two grounds for dismissal of that

lawsuit (“Latinos for Trump”).

         32.      Of particular importance to the People’s Lawsuit, is a paragraph from

Secret History that neatly wraps up the elements of Defendants’ conduct into the



31
   Id. at p. 29.
32
   Plaintiffs have, nonetheless, obtained a copy of the Report available for viewing.
33
   Adam Liptak, Error and Fraud at Issue as Absentee Voting Rises, THE NEW YORK TIMES, (Oct. 6, 2012), available at
https://www.nytimes.com/2012/10/07/us/politics/as-more-vote-by-mail-faulty-ballots-could-impact-
elections.html; Paul Bedard, Developed countries ‘ban’ mail-in voting, US would be ‘laughing stock’:Report,
WASHINGTON EXAMINER (Aug. 5, 2020) available at https://www.washingtonexaminer.com/washington-
secrets/developed-countries-ban-mail-in-voting-us-would-be-laughing-stock-report.


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elements necessary for a 42 U.S.C. § 1983 claim against both federal and private

individuals:


            Their work [the Cabal, which includes Defendants] touched every
            aspect of the election. They got states [acting in concert with state
            officials] to change voting systems and laws [in violation of the
            Election Integrity Safeguards] and helped secure hundreds of
            millions in public [including funding from Congress] and private
            funding. They fended off voter-suppression lawsuits [many of
            which lawsuits were intended to prevent violations of the Election
            Integrity Safeguards], recruited armies of poll workers and got
            millions of people to vote by mail for the first time. They
            successfully pressured social media companies to take a harder
            line against disinformation and used data-driven strategies to
            fight viral smears [which constitutes interference with Plaintiffs’
            First Amendment rights to free speech]. They executed national
            public-awareness campaigns that helped Americans understand
            how the vote count would unfold over days or weeks, preventing
            Trump’s conspiracy theories and false claims of victory from
            getting more traction [which was additional suppression of
            Plaintiffs’ First Amendment rights]. After Election Day, they
            monitored every pressure point to ensure that Trump could not
            overturn the result. “The untold story of the election is that
            thousands of people of both parties who accomplished the triumph
            of American democracy at its very foundation,” says Norm Eisen,
            a prominent lawyer and former Obama Administration official
            who recruited Republicans and Democrats to the board of the
            Voter Protection Program [thus demonstrating the concert of
            action between both Democrats and Republicans to carry out the
            conspiracy].

Secret History, pp. 3–4. This paragraph clearly and precisely states Plaintiffs’ claim

against Defendants under 42 U.S.C. § 1983 and other causes of action.

      33.      It is truly remarkable how conveniently Ms. Ball’s Secret History laid

out a roadmap for Plaintiffs’ allegations in support of their various causes of action

in this Lawsuit. Secret History also prevents the media from attacking the Court for

any relief granted supporting Plaintiffs so-called “tin foil hat conspiracy theories,” as



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the dishonest media would surely have attempted to do because Plaintiffs’ allegations

now come straight from one of the most well-respected and widely circulated

publications, TIME. It seems the Defendants/conspirators/Cabal were so pleased

with themselves, that they could not help but announce their Secret History to the

public, much like a terrorist organization would proudly claim responsibility for some

heinous act.

      34.       In its Show Cause Order, the Court called for dismissal of the Latinos

for Trump lawsuit on the grounds that § 1983 “does not apply to federal officers,” such

as members of the 117th U.S. Congress, citing a non-binding, general proposition from

the Tenth Circuit Court of Appeals. Contrary to the Court’s assertion, binding

Supreme Court and Fifth Circuit precedent clearly hold that, for purposes of § 1983,

acting “under color of law does not require that the accused be an officer of the state;”

rather, “[i]t is enough that he is a willful participant in joint activity with the State

or its agents.” United States v. Price, 383 U.S. 787, 795 (1966); Gomez v. Fla. State

Employment Serv., 417 F.2d 569, 578 (5th Cir. 1969); see also Kletschka v. Driver, 411

F.2d 436, 448–49 (2d Cir. 1969) (“We can see no reason why a joint conspiracy

between federal and state officials should not carry the same consequences under §

1983 as does joint action by state officials and private persons.”); accord Tongol v.

Usery, 575 F. Supp. 409, 415 (N.D. Cal. 1983), rev’d sub nom. on other grounds Tongol

v. Donovan, 762 F.2d 727 (9th Cir. 1985).

      35.      As will be even more fully alleged in the Statement of Facts below,

Secret History sets forth, in great detail, how private individuals solicited federal




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money from the 116th Congress, who then distributed the federal money to state and

local officials, who used the money, in joint activity with private persons, to violate

the Election Integrity Safeguards.                 The 117th Congress overwhelmingly includes

members of the 116th Congress, and also includes private individuals who were willful

participants in the conspiracy when they ran for office and were elected with the help

of the conspirator Defendants, including state and local officials who acted to

unlawfully change state election procedures in violation of the Election Integrity

Safeguards. Indeed, it is a difficult to imagine a scenario of a more willful joint

conspiracy between federal and state officials who acted under the color of state law,

namely the state elections laws, regulations, and procedures to deprive Plaintiffs of

their constitutional civil rights.

        36.      Defendants’ nefarious conspiracy to willfully deprive Plaintiffs of both

their right to cast a lawful ballot in the 2020 Federal Elections and their right to not

having their ballot diluted by fake or fraudulent ballots (“Ballot Box Stuffing”)34 is

not only in violation of Plaintiffs’ substantive due process voting rights and equal

protection rights under the Fourteenth Amendment, but is a conspiracy to willfully

deprive Plaintiffs and all Americans of the right to the republican form of government

guaranteed in the Constitution.

        37.      Thus, the nature of Plaintiffs’ causes of action under § 1983 are not, as

the Court stated in the Show Cause Order, “a private right of action” or “declaratory

relief” under HAVA, though this could likely have been unclear in the wording of the


34
  The practice of diluting the votes of American citizens through the submission of ballots that are not submitted
from a Citizen of the United States who is eligible to vote is hereinafter referred to as “Ballot Box Stuffing.”


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Original Complaint. Rather, Plaintiffs claims are for “deprivation of . . . rights,

privileges, or immunities secured by the Constitution.” 42 U.S.C. § 1983. The severe

and pervasive violations of HAVA and the 1960 CRA35 in all 53 Voting Districts is

merely evidence that Plaintiffs constitutional rights have been violated to the fullest

extent imaginable in addition to the other factual allegations contained herein.

Accordingly, as will be more fully set forth the in Plaintiff’s Response to the Show

Cause Order, the HAVA cases cited in the Order are inapposite.                               The Election

Integrity Safeguards clearly and obviously exist to protect Plaintiffs constitutional

rights related to suffrage, but it is those constitutional rights themselves, not HAVA,

under which Plaintiffs bring their § 1983 claims.

        38.      Moreover, Defendants’ willful conspiracy included intentional and

severe interference with Plaintiffs’ First Amendment rights to freedom of speech,

right to peaceable assembly, and right to petition the government for a redress of

grievances, as will be described further below, providing further grounds for relief

under § 1983. Plaintiffs also have causes of action against the federal officials, state

officials, and private officials under 42 U.S.C. §§ 1985 and 1986, and directly against

federal officials as a Bivens claim. Accordingly, the People’s Lawsuit cannot be

lawfully dismissed for all of the foregoing reasons. The Court has no right to further

deprive the People of the United States of their constitutional rights related to

suffrage and a representative form of government.




35
  Violations of the 1960 CRA were first asserted in the Memorandum to Support Entry of Alternative Temporary
Restraining Order (Doc. 10).


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      39.    In sum, Defendants’ vast conspiracy described in Secret History and

further set forth in the Statement of facts, was a willful conspiracy to deprive

Plaintiffs and all Americans of their fundamental constitutional rights, for which the

Election Integrity Safeguards were specifically intended to protect. The egregious

result of the conspiracy is that the 117th Congress, the President, and Vice President

were elected and sworn into federal office in clear and willful violation of Plaintiffs’,

including the putative class members, and all 328 million Americans’ constitutional

rights, most importantly, the right to a republican form of government.

   I. Conclusion to Introduction.

      40.    The violations committed through Defendants’ conspiracy against

Plaintiffs’ constitutional rights described herein were so severe and pervasive that

they resulted in congressional elections by which none of the members of the House

of Representatives and none of the members of the Senate who stood election in 2020

were lawfully elected pursuant to the Election Integrity Safeguard. The remaining

Senators who did not stand election were willfull participants in the conspiracy and

have violated their oaths of office. The violations of HAVA and the 1960 CRA were

so severe and pervasive that the 2020 congressional elections cannot now be audited

with any reasonable degree of certainty that Ballot Box Stuffing and other fraudulent

activity did not unconstitutionally dilute Plaintiffs’ votes and taint the “certified”

results.

      41.    Accordingly, the only appropriate remedy is a new congressional election

conducted pursuant to the Election Integrity Safeguards, and additional security




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measures that should be imposed by the Court to ensure the conduct that occurred

herein cannot affect the new election. For example, such measures could include a

100% in person paper ballot election, with government-issued ID required, and

supervised by the People over live video feeds to ensure proper counting. The Court

must ensure a new congressional election that should be the most transparent and

closely-supervised in history.

       42.   Pending trial, the Court must enter temporary injunctive relief

restraining the illegitimate Congress and Executive Branch from acting to pass new

legislation and enforcing new executive orders departing from the status of U.S. law

and policy as it existed as of January 3, 2021, except for such acts absolutely

necessary for the administration and continuity of government. Mr. Biden and Ms.

Harris must be included in such injunctive relief because Title 3, Chapter 1 of the

United States Code, entitled “Presidential Elections and Vacancies” requires a

congressional process to fill a vacancy of the offices of President and Vice President,

which includes a process of objection to “any vote or paper from a State.” 3 U.S.C. §

15.

       43.   The 117th Congress had no authority to fill the vacancies of the offices of

President and Vice President because this Congress was seated and given the oath of

office in clear violation of the Constitution.   After a new election, a lawful and

legitimate Congress may well wish to hear and vote on objections to the 2020

Presidential elections that could possibly result in a change in whomever fills the

vacancies of these offices through a constitutional process.




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       44.    In conclusion, Plaintiffs merely demand that the Court enforce the

constitutional rights for which their forefathers gave their lives centuries ago.

Plaintiffs request that the injunctive relief requested herein stay in place through

trial by a jury of fellow Americans, to keep the rogue, illegitimate government from

acting without the consent of the People, so that all Americans can, once again, be

assured that “government of the people, by the people, and for the people, shall not

perish from the earth.”

                                            II.
                                          PARTIES

   A. Plaintiffs

       45.    Plaintiff, Jeremy Bravo is a former Texas congressional candidate who

was on the federal ballot for a Congressional seat in the 117th Congress and who

resides in the state of Texas.

       46.    Lindsey Nguyen resides in the state of Washington

       47.    “P.P.” is an individual who resides in the state of New York. P.P. files

under initials due to a reasonable concern for personal safety and property and that

of family in retaliation for filing this lawsuit.

       48.    “D.D.” is an individual who resides in the state of Texas. P.P. files under

initials due to a reasonable fear for personal safety and property and that of family

in retaliation for filing this lawsuit.

   B. Defendants

       49.    Defendant, Nancy Pelosi is a resident of the state of California who acted

as an individual and in her official capacity as the Speaker of the US House of



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Representatives who may be served with process at 1236 Longworth H.O.B.

Washington, DC 20515 or wherever she may be found.

      50.    Defendant, Mitch McConnell is a resident of the state of Kentucky who

acted as an individual and in his official capacity as a US Senator and Senate

Majority Leader who may be served with process at 317 Russell Senate Office

Building Washington D.C or wherever he may be found.

      51.    Defendant, Chuck Schumer, is a resident of the state of New York and

acted as an individual and in his official capacity as a US Senator who may be served

with process at 322 Hart Senate Office Building Washington, D.C. 20510.

      52.    Defendant, Mark Zuckerberg is a resident of the state of California and

acted as an individual and in his capacity as founder of the Chan Zuckerberg

Initiative located at 314 Lytton Ave Palo Alto, Ca. 94301 and as founder and CEO of

Facebook, located at 1 Hacker Way, Menlo Park, CA 94025, where he may be served

with process or wherever else he may be found.

      53.    Defendant, Brad Raffensperger, is a resident of the state of Georgia who

acted as an individual and in his official capacity as Georgia Secretary of State, who

may be served with process at 214 State Capitol Atlanta, Georgia 30334.

      54.    Defendant Pete Sessions is the Congressman for the district in which

the venue is located. Mr. Sessions had knowledge of and was a willful participant in

the conspiracy described herein. In doing so, Mr. Sessions failed to protect the

constitutional rights of his constituents. Mr. Sessions is a resident of the state of

Texas and acted as an individual and in his official capacity. Mr. Sessions may be




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served with process at his Waco office at 400 Austin Avenue, Suite 302 Waco, TX

76701 or wherever he may be found.

      55.    Defendant Mike Podhorzer is, upon information and belief, a resident of

the state of Maryland. Mr. Podhorzer is chairman of the board of Catalist and may

be served with process at the Catalist office, 1310 L St NW #500, Washington, DC

20005 or wherever he may be found.

      56.    Defendant Jack Dorsey is a resident of the state of California. Mr.

Dorsey is the CEO of Twitter and may be served with process at Twitter’s corporate

offices at 1355 Market St., Suite 900, San Francisco, CA 94103 or wherever he may

be found.

      57.    Plaintiffs name, individually as Defendants all current, so-called

members of the 117th Congress of the United States (the “Congressional Defendants”),

including, as listed on Exhibit 2, all members of both the U.S. House of

Representatives and the U.S. Senate who are individuals residing in the respective

states they purport to represent and may be served with process on the floors of the

House and Senate at the U.S. Capitol, First St, SE, Washington, DC 20004, or at their

respective Washington D.C. offices ancillary to the U.S. Capitol.

      58.    The Congressional Defendants should be served with process in

accordance with Fed. R. Civ. P. 4(i) as Officers of the United States in their individual

and officials capacities. Since the District of Columbia is currently under lockdown

with thousands of National Guardsmen surrounding the Capitol, Plaintiffs will file a

motion shortly requesting service by special appointment pursuant to Rule 4©(3).




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      59.      Plaintiffs additionally names as Defendants, all the state governors and

secretaries of state listed in Exhibit 3 attached hereto (the “State Defendants”).

These individuals reside in the respective state listed above their names and may be

served with process at the addresses provide in Exhibit 3 or wherever they may be

found and/or as provided under their various states’ procedures for service of process.

Plaintiffs will also file a motion for service by special appointment for these

individuals.

      60.      Defendant Democratic Congressional Campaign Committee is a District

of Colombia corporation that may be served with process through their registered

agent, CT Corporation System, 1999 Bryan St., Ste. 900 Dallas, TX 75201-3136.

      61.      Defendant Democratic Senatorial Campaign Committee is a District of

Colombia corporation that may be served with process through their registered agent,

CT Corporation System, 1999 Bryan St., Ste. 900 Dallas, TX 75201-3136.

      62.      Defendant Republican National Committee is an unincorporated

political association that may be served with process at their offices located at 310

First St., S.E., Washington, D.C. 20003.



                                         III.
                               JURISDICTION AND VENUE

      63.      The Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 because this case arises under the Constitution and laws of the

United States. Furthermore, where, as here, deprivations of constitutional rights are

alleged, including a conspiracy to deprive or failure to prevent or render aid regarding



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such deprivations, 28 U.S.C. § 1343 confers original subject matter jurisdiction on the

federal district courts.

       64.    The Court has personal jurisdiction over the federal elected officials and

private individuals named as Defendants because they acted as willful participants

in conspiracy with state or local officials under color of law. In so doing, they violated

the constitutional rights of Plaintiffs and putative class members, who live in Texas,

as was foreseeable, and therefore, purposely availed themselves of or can reasonably

anticipate being hailed into federal court in the State of Texas.

       65.    Venue is proper in this district because one or more of the Defendants

resides in this district and the district has a substantial connection to the claim, since

one or more of the Plaintiffs also reside in this district.

       66.    All conditions precedent to this action have occurred.

                                     IV.
                              STATEMENT OF FACTS

       67.    Plaintiffs hereby incorporate all allegations in the foregoing paragraphs

as though fully set forth herein, including but not limited to, all of the factual

allegations referenced in Secret History and all other allegations contained in the

Introduction paragraphs 1–30.

   A. Allegations Based on the Export Report by John S. Vanderbol.

       68.    All factual allegations contained in the expert report by John S.

Vanderbol, entitled “Global Risk Analysis: Special Report” (the “Vanderbol Report”),

attached hereto as Exhibit 4, are hereby incorporated by reference as though fully




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set forth herein. The following allegations are based on the Vanderbol Report, the

research cited therine, and conducted in preparation thereof.

        69.     In the spring of 2019, concerned citizens seeking to protect their civil

rights brought forth evidence and information to Defendants acting in partisan

enterprises36 regarding issues with election integrity and cybersecurity as well as

enforcement requirements in the HAVA.37

        70.     On June 27th, 2019, the 116th House of Representatives sent to the

Senate, H.R. 2722 also known as the SAFE ACT, an act designed to protect the civil

rights of three hundred and twenty-eight million Americans.

        71.     Shortly after June 27, 2019, Congressional Defendants acting in a

partisan enterprise in abuse of their elected offices in the 116th Senate moved the

SAFE ACT to the rules and administration committee with the intent to “kill” the act

in committee in order to deprive three hundred and twenty-eight million Americans

civil rights.

        72.     Defendants Schumer, McConnell, Durbin, Blunt, Cruz, among other

Congressional Defendants, who were assigned to the Rules and Administration

Committee, purposefully and under color of law took action to “kill” the SAFE ACT

with the purpose to deny three hundred and twenty-eight million American people of




36
  The Vanderbol Report elaborates on the meaning of the term “partisan enterprises,” a term of art.
37
  Referencing the SAFE ACT and congressional record and other supporting documentation attached to the SAFE
ACT.


                                                     30
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their lawful civil rights, including their most important right: the guarantee of a

republican form of government.38

         73.      On July 17th 2019, the 116th House of Representatives forwarded to the

Senate a “tax bill” that had no election protections or any component to protect the

civil rights of American citizens.                Shortly thereafter, Congressional Defendants,

participating in partisan enterprises, would corrupt this “tax” bill at the request of

conspiring State Defendants, as well as co-conspirators within the social media and

business communities, in order to deny the American citizens of a lawful and

constitutionally correct 2020 Federal Election.

         74.      In early 2020, the conspiring defendants at the state level, including

high net worth individuals, engaged in the media and social media industries, as well

as regional operation of partisan enterprises, approached Defendants at the federal

level with a scheme to deny three hundred twenty-eight million Americans of their

civil rights through fraudulent usage of the covid-19 pandemic as a reason to alter

procedures and conduct of the 2020 Federal election in willful violation of the Election

Integrity Safeguards and state, local, and federal laws, policies, and procedures, such

purpose being to deny American citizens of their right to vote and to deprive

Americans their right to a republican form of government from that date and all

election dates forward.

         75.      In early 2020, co-conspiring State Defendants and others at the state

level, in concert with high net worth private individuals engaged in the media and


38
  Denial of the right to a republican form of government in this section also includes deprivation of the substantive
due process rights and equal protection rights that related to suffrage.


                                                         31
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social media industries as well as regional operation of partisan enterprises,

approached Congressional Defendants at the federal level and sought from them 1.4

billion dollars in federal monies to execute their fraudulent schemes and deprive the

three hundred and twenty-eight million Americans of their civil rights.

       76.      In response to these afore-mentioned conspiring Defendants’ request for

1.4 billion dollars, the Congressional Defendants, acting willfully in concert with

other individuals acting in partisan enterprises, unlawfully caused the issuance of

400 million dollars in federal monies, with knowledge the monies would be used to

illegally deprive the American people of their constitutional rights.

       77.      In mid 2020, the Chan Zuckerberg Initiative, a foundation headed by

Defendant Mark Zuckerberg, who had knowledge of the conspiring Defendants’

fraudulent scheme, chose to become a willful participant in the conspiracy by causing

Chan Zuckerberg to contribute 300 million dollars to the State Defendants and other

officials at the state level for the purpose of depriving the American people of their

civil rights.

       78.      Plaintiff J.B. has provided evidence, statements, and testimony

regarding Defendant Chuck Schumer’s instruction to and conspiracy with Defendant

M.J. Hager to commit fraud and to deprive Americans of their constitutionally

protected rights.

       79.      Plaintiff J.B. provided evidence, statements, and testimony of

Defendant Hager directing, informing, briefing, controlling and directly managing,

on behalf of senior members of the partisan enterprises, including Defendant




                                           32
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Schumer, the conduct of conspiring Defendants, who acted as members of staff of

state election committees, staff of offices of secretaries of states, local partisan

operatives, and state partisan operatives in abuse of the offices and state-level

partisan election officials, who are responsible for administering the 2020 Federal

Elections in the various states.      Some of those persons received funds from

Zuckerberg Chan, while others received fraudulently obtained federal monies, as

disbursed by Congressional Defendants and other federal-level persons, who

orchestrated, funded, directed and managed, by third party, the partisan enterprise

schemes, to willfully deprive American citizens of their civil rights.

      80.    Evidence provided by Plaintiffs, obtained from public sources, including

media and official records, as submitted into the evidentiary record, show the conduct

of willfully conspiring Defendants, who acted as members of staff of state election

committees, staff of offices of secretaries of states, local partisan operatives, state

partisan operatives in abuse of the offices and state-level partisan-engaged election

officials; some of those persons received funds from Zuckerberg Chan while others

received fraudulently obtained federal monies as disbursed by federal-level

Congressional Defendants, who orchestrated, funded, directed, and managed, by

third party, the partisan enterprise schemes, to willfully deprive American citizens

of their constitutional rights by actively moving to unlawfully change state election

rules, procedures, and policies in ways that violated the Help America Vote Act of

2002 and violated the records retention requirements of the 1960 CRA.

   B. Violations of the 1960 Civil Rights Act.




                                           33
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      81.    As is typical of Defendants’ above-described behavior, the former expert

retained by Plaintiffs to give further support of the following allegations has

apparently become the victim of an intimidation campaign and is no longer willing to

testify. His expert report may be found in the Latinos for Trump lawsuit as Document

14-4. Fortunately, Plaintiffs have already retained another expert witness for this

matter.

      82.    All 53 Voting Districts destroyed “paper” and “records” that is required

to be retained as various papers came into possession of election officials, pursuant

to the 1960 CRA. The items destroyed were security envelopes which contained,

marked on the face of the envelope a security barcode unique to each ballot inside.

Defendants issued unlawful procedures, policies and special waivers, which denied

Plaintiffs of their constitutional rights intended to be protected through an available

audit of the papers and records relating to the 2020 Federal Election.

      83.    In addition to the foregoing violations of the 1960 CRA, postage marks

are required to be retained as a record to match the security bar code on the envelope

to the address of the ballot to ensure a proper audit trail.

      84.    State Defendants and others acting at the state and local level under

color of state law and as part of their conspiracy with the other Defendants, caused

the execution and application of these unlawful policies and procedures that violated

the 1960 CRA and therefore, violated the integrity of the election process by

eliminating the ability to conduct any meaningful audit of the 2020 Federal Election




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papers, records, and other original materials, all of which are necessary for such an

audit.

         85.   In so defeating the ability for an audit of these original materials, as

prescribed by the 1960 CRA, these acts had the effect of depriving Plaintiffs of their

right to a republican form of government and their other constitutional rights related

to suffrage.

         86.   In all 53 Voting Districts, the state and local officials responsible for

retaining original papers, records, and materials received and in their possession

related to the 2020 Federal Election, implemented records retention policies in clear

violation of section 301 of the 1960 CRA, and by thereby acted under color of state

and local law in a manner that willfully deprived Plaintiffs of their right to a

republican form of government and their other constitutional rights related to

suffrage.

         87.   The effect of Defendants’ willful participation in the conspiracy,

perpetrated in concert with private persons and public officials at the state and

federal levels, as well as with Defendants named and to be named, who are engaged

in the industries of media and social media, was to deprive three hundred and twenty-

eight million Americans of their civil rights and the guaranteed constitutional

republican form of government.

         88.   Since 2016, conspirators who willfully participated in the conspiracy at

the state and federal levels, have acted in abuse of their official duties, changing

policies and procedures to the sole benefit of the partisan enterprises with the willful




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intent and to deprive three hundred and twenty-eight million Americans of their civil

rights and the guaranteed constitutional republican form of Government.

      89.    Many of the Defendants, including the Congressional Defendants, acted

through the partisan enterprise known DNC Services Corporation, a private

corporation, which filed false documents before federal and state courts falsely

identifying the Democratic Congressional Campaign Committee (“D-Triple-C”) and

the Democratic Senate Campaign Committee (“DSCC”) as committees in charge of

day-to-day operations of the Democratic Party. Both D-Triple-C and the DSCC have

recently filed documents before the Texas state and federal courts both alleging the

same fraudulent statement. Such conduct was done in furtherance of the conspiracy

so that individual Defendants named herein could committee their overt acts in

furtherance of the conspiracy through these corporate entities.

      90.    Many of the Defendants, including the Congressional Defendants, acted

through the partisan association-in-fact enterprise known as the Republican

National Committee to commit the acts identified herein in furtherance of the

conspiracy to deprive Plaintiffs of their constitutional rights acting through an

unincorporated political association.

      91.    The Defendants’ conduct and statements show the use of corporate

association-in-fact partisan enterprises in the manner of conduct of their acts in

furtherance of the conspiracy to defraud the Plaintiffs of their constitutional rights.

      92.    For all reasons listed above and yet to be stated, Plaintiffs allege the

result and purpose of Defendants’ willful participation in the conspiracy, acting under




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color of state law and in egregious violation of constitutionally protected substantive

due process and equal protection rights under the Fourteenth Amendment related to

suffrage, was to deprive the People of the United States of the republican form of

government guaranteed in the Constitution, Plaintiffs being among those People.

   C. First Amendment Allegations

      93.    “In November 2019, Mark Zuckerberg invited nine civil rights leaders to

dinner at his home,” where they discussed and conspired about how to control the

“flow of information” on social media to fit their purpose of the “ouster of [President]

Trump” from office. In conspiracy with other social media CEOs, including Jack

Dorsey, and various persons in the news media, this “Cabal” of news media, social

media, and technology “titans of business” conspired to “control the flow of

information” by suppressing the political views of Plaintiffs and, in particular their

support of particular candidates for Congress and for President Donald J. Trump.

See Secret History (in particular, section under subheading “The Disinformation

Defense”).

      94.    The overt acts in furtherance of this conspiracy were to censor the free

speech of Plaintiffs by placing various “warnings” about “false” content in their posts,

which Defendants had subjectively determined to be “disinformation” based on their

invidious discriminatory animus against Plaintiffs for their political views and

support of particular candidates.

      95.    Other overt acts taken or caused by Defendant Zuckerberg and his co-

conspirator Defendant Jack Dorsey and their respective social media platforms,




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Facebook and Twitter, and other various social media platforms, included (1) “shadow

banning” Plaintiffs’ posts, (2) placing Plaintiffs’ posts in an “echo chamber,” where

the reach of their posts was limited as compared to other Americans on social media,

who shared the political views of the Defendants, (3) suspending Plaintiffs’ accounts,

and (4) involuntarily deleting Plaintiffs accounts altogether.

      96.    Whereas social media has quite literally become the modern-day “public

square” where public debate and protected speech that underlies the very purpose of

the First Amendment takes place. No other suppression of Plaintiffs’ right to free

speech could be more severe than depriving them of the right to free speech on social

media. By comparison, there is simply nowhere else for persons to go in this day and

age to voice their opinions on matters of political importance where their voices will

be heard. As such, Defendants inflicted the harshest form of deprivation of Plaintiffs’

First Amendment rights causing severe damages and mental anguish.

      97.     In addition, Defendant Zuckerberg participated in the same concert of

action with the Cabal to cast Plaintiffs who exercised their First Amendment rights

to peaceably protest at the U.S. Capitol on January 6, 2020 (the “Protest”). The

method of this part of the conspiracy was to focus the attention of the media coverage

and media posts on various bad actors who committed acts of violence at the Protest

and attribute these bad acts to Plaintiffs who were merely peacefully exercising their

protected First Amendment rights.




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       98.    It was a classic “guilt by association” scheme designed to paint the

Plaintiffs in a false light and stir public outrage against them for the purpose of

interfering with their right of free speech and freedom to peaceably assemble.

   D. Specific Failures to Comply with HAVA

       99.    HAVA is a statutory scheme enacted by the 107th Congress to “right

those wrongs” of the 2002 Bush v. Gore and Congressional election debacle where

“four to six million” Americans “never had their votes counted” due to “faulty

machinery,” “wrongful and illegal purges from voter lists,” and “poorly designed

ballots.” 148 Cong. Rec. S10412-02 (Oct. 15, 2002) (statement of Sen. Dodd regarding

final Senate conference report).

       100.   In his speech before Congress regarding the final Senate conference

report, Senator Dodd specifically praised Defendants Mitch McConnell and Chuck

Schumer, for their “tremendous work” on HAVA, and went on to say HAVA was the

“first civil rights legislation of the 21st century.” Id.

       101.   In doing so, Sen. Dodd acknowledged both the purpose of HAVA to

protect our “most fundamental right as American citizens: the right to vote” in the

United States, which he described as a “beacon light of self-government.” Id. Sen.

Dodd’s comments also specifically shows the intent of Defendants Schumer and

McConnell to deprive Americans of this “most fundamental right” including the right

to “self-government” in their willful participation in the conspiracy to violate

Plaintiffs’ constitutional rights.




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      102.   Moreover, Sen. Dodd explained yet another reason why all the

Congressional Defendants are liable for their willful participation in the conspiracy

when he acknowledged that, with regard to election procedures, “each Member who

serves here [in Congress] is an expert because they would not have arrived here had

they not been elected.” Id. In other words, the Congressional Defendants knew full

well what they were doing and cannot now feign ignorance of the Election Integrity

Safeguards, particularly not Defendants McConnell and Schumer with regard to

HAVA.

      103.   HAVA set forth specific “minimum requirements” with which the

Defendants, as members of state or federal government, or governmental employees,

or elected officials acting under color of law, failed to comply in the conduct of the

2020 Federal Election.

      104.   The minimum requirements in HAVA stipulated specific duties

regarding “mail in ballots,” “registration of voters by mail,” and highly detailed voter

identification processes, and other requirements with which Defendants, as members

of state or federal government, or governmental employees, or elected officials acting

under color of law purposefully or negligently failed to comply.

      105.   Defendants are members of state or federal government, or are

governmental employees, or elected officials acting willfully alongside one another

and/or in concert under color of law, who unlawfully used federal monies tied to

HAVA to change state voting procedures in a manner which failed to meet lawful

requirements defined as “minimum requirements” in HAVA and instead used federal




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monies for the purpose of causing all 53 federal Voting Districts to fail to comply with

federal election law.

       106.   Defendants as members of state or federal government, or governmental

employees, or elected officials acting willfully alongside one another and/or in concert

under color of law, engaged in acts of selective enforcement to fraudulently certify

federal elections as valid, when in fact they were unlawful and failed to meet criteria

set forth in federal law and state law.

       107.   Defendants as members of state or federal government, or governmental

employees, or elected officials acting willfully alongside one another and/or in concert

under color of law, had specific knowledge of administrative requirements due to

HAVA, and willfully failed to implement these requirements.

       108.   Defendants as members of state and federal government, or

governmental employees, or elected officials acting alongside one another and/or in

concert under color of law, by oath have specific duties which they failed to perform,

instead willfully supported acts of conspiracy to unlawfully influence a federal

election.

       109.   Defendants as members of state and federal government, or

governmental employees, or elected officials acting alongside one another and/or in

concert under color of law, after Plaintiffs and other third parties raised concern

regarding the possibility of an unlawful election, engaged in acts to destroy evidence,

inhibit discovery, and engaged in fraudulent statements to defend a conspiracy to

engage in the conduct described herein.




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        110.     The Congressional Defendants willfully passed the CARES Act to

provide federal money used to modify state procedures for federal elections in

violation of HAVA and then failed to amend HAVA to accommodate these changes to

state procedures for federal elections.

        111.     The foregoing actions of Defendants, willfully participating in joint

activity in the conspiracy described herein, resulted in the failure of every election

conducted in the 53 Voting District to comply with the Election Integrity Safeguards.

        112.     A list of many (but not all) of each State’s specific violations of HAVA is

attached hereto as Exhibit 5.

                                               V.
                                        CAUSES OF ACTION

     A. COUNT ONE – Conspiracy and conduct to deprive of constitutional
        rights related to suffrage and the right to a republican form of
        government under 42 U.S.C. § 1983.

        113.     Plaintiffs hereby incorporate all allegations in the foregoing paragraphs

as though fully set forth herein.

        114.     Defendants, which include the federal officials, state officials, and39

private persons named herein, acted under color of state law—the various states’

elections, laws, regulations, procedures, and administration thereof—related to the

2020 Federal Election, as willful participants in a conspiracy consisting of joint

activity with state and local officials, including the state Governors and Secretaries

of State named herein, and acted with each state and voting district, to deprive


39
  The terms “and” and the term “or” are intended throughout this Complaint to be construed in their broadest use
possible as “and/or” or similar, except where such interpretation would not make logical or grammatical sense or
such interpretation would operate to prevent Plaintiffs from stating a claim upon which relief could be granted.


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Plaintiffs of their various rights, privileges, and/or immunities secured by the

Constitution of the United States.

      115.   These various Constitutional rights include, (1) all substantive due

process rights related to suffrage and casting a vote in a federal election, (2) all equal

protection rights related to the right of suffrage being debased or dilution of the

weight of Plaintiffs’ votes, and (3) deprivation of Plaintiffs’ rights to the republican

form of government guaranteed by Article IV, section 4 of the Constitution.

      116.   At all relevant times, Plaintiffs were acting as private citizens related

to their rights of suffrage and rights to a republican form of government.

      117.   Defendants’ conspiracy and conduct against Plaintiffs would deter a

person of ordinary firmness from continuing to engage in these protected

constitutional rights.

      118.   Plaintiffs’ protected constitutional rights were a substantial and

motivating factor for Defendants’ conspiracy and conduct to deprive them of these

rights.

      119.   Defendants’     decision   to    violate   Plaintiffs’   clearly   established

constitutional rights was not objectively reasonable in light of the circumstances.

      120.   Defendants’ conspiracy described herein caused severe damages to

Plaintiffs in depriving them of their Constitutional rights and subjecting them to

suffer the dominion and control of an illegitimate Congress, President, and Vice

President, which enacted Executive Orders, policies, and/or legislation in violation of




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Plaintiffs’ rights to a government whose legitimate acts must be by consent of the

governed, a republican form of government.

       121.   Defendants’ conspiracy and conduct described herein caused Plaintiffs

to suffer other severe damages, including mental anguish and emotional suffering.

   B. COUNT TWO – Conspiracy and conduct to deprive of First
      Amendment rights and retaliate for the free exercise thereof under 42
      U.S.C. § 1983.

       122.   Plaintiffs hereby incorporate all allegations in the foregoing paragraphs

as though fully set forth herein.

       123.   Defendants acts described herein, including but not limited to,

interfering with and/or retaliating against Plaintiffs for the free exercise of their First

Amendment rights to free speech by “controlling the flow of information” related to

Plaintiffs’ rights to speak about suspected fraud in the 2020 Federal Election and/or

to voice support for a particular political candidate and/or to express a political view

on social media; rights to petition the government for redress of grievances by the

relief sought herein and through verbal acts in protest of the illegitimate Congress

counting the Electoral College votes on January 6, 2021 whether at the Capitol in

person or on social media, and their rights to peaceably assemble in protest.

       124.   Defendants conspiracy and conduct in violation of Plaintiffs’ First

Amendment rights also specifically includes the acts of Roger Sollenberger in concert

with his various colleagues at Salon.com, including but not limited to Justin Pelofsky,

in retaliation against Plaintiffs for exercising their rights to petition the government

for redress of their grievances in this Lawsuit. Such conspiracy and conduct included




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spreading objectively and patently false statements publicly about the Lawsuit and

conducting an intimidation campaign against Plaintiffs’ counsel in this matter for

attempting to enforce Plaintiffs’ constitutional rights before this Court.

      125.   At all relevant times, Plaintiffs were acting as private citizens related

to matters of public concern.

      126.   Defendants’ acts against Plaintiffs would deter a person of ordinary

firmness from continuing to engage in their protected First Amendment rights.

      127.   Plaintiffs’ protected First Amendment rights were a substantial and

motivating factor for Defendants’ conduct to deprive them of their rights.

      128.   Defendants’    decision    to    violate   Plaintiffs’   clearly   established

constitutional rights was not objectively reasonable in light of the circumstances.

      129.   Defendants’ conspiracy and conduct described herein caused Plaintiffs

to suffer severe damages, including mental anguish and emotional suffering.

   C. COUNT THREE Conspiracy to interfere with constitutional rights
      under 42 U.S.C. § 1985.

      130.   Plaintiffs hereby incorporate all allegations in the foregoing paragraphs

as though fully set forth herein.

      131.   By the conduct described in the foregoing paragraphs, Defendants

conspired together, whether directly or indirectly, for the purpose of depriving

Plaintiffs of their constitutional rights related to their substantive due process rights

to suffrage and related equal protection rights, their rights to a republican form of

government, and their various rights under the First Amendment.




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      132.   Defendants’ conspiracy was also for the purpose of depriving Plaintiffs

of their rights to give “support or advocacy in a legal manner toward or in favor of the

election of one or more lawfully qualified persons a an elector for President or Vice

President, or as a Member of Congress of the United States.” § 1985(3).

      133.   Defendants’ conspiracy was also for the purpose of retaliating against

Plaintiffs from exercising all of the above constitutional rights.

      134.   Defendants’ conspiracy was motivated by class-based invidious

discriminatory animus based on Plaintiffs race, color, political group, political view,

or support of one or more particular candidates for office.

      135.   Defendants’ conspiracy included illegal actions that were the product of

the discriminatory animus.

      136.   Defendants’ conspiracy and conduct described herein caused Plaintiffs

to suffer severe damages, including mental anguish and emotional suffering.

   D. COUNT FOUR – Action for neglect to prevent under 42 U.S.C. § 1986.

      137.   Plaintiffs hereby incorporate all allegations in the foregoing paragraphs

as though fully set forth herein.

      138.   Defendants had knowledge of the conspiracy and conduct to be done, as

set forth above, had the power to prevent or aid in preventing the commission of the

same, and neglected or refused so to do, resulting in the deprivation of Plaintiffs’

various constitutional rights set forth herein.




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        139.     Plaintiffs suffered severe damages by Defendants’ failure to prevent or

aid in preventing the deprivation of their constitutional rights, including40 mental

anguish and emotional suffering.

     E. COUNT FIVE – Bivens claim for conspiracy and/or conduct to
        deprive of constitutional rights related to suffrage and the right to a
        republican form of government

        140.     Plaintiffs hereby incorporate all allegations in the foregoing paragraphs

as though fully set forth herein.

        141.     Defendants, which include the federal officials and private persons

named herein, acted under color of state law—the various states’ elections, laws,

regulations, procedures, and administration thereof—related to the 2020 Federal

Election, as willful participants in a conspiracy consisting of joint activity with state

and local officials, including the state Governors and Secretaries of State named

herein, and acted with each state and voting district, to deprive Plaintiffs of their

various rights, privileges, and/or immunities secured by the Constitution of the

United States.

        142.     These various Constitutional rights include, (1) all substantive due

process rights related to suffrage and casting a vote in a federal election, (2) all equal

protection rights related to the right of suffrage being debased or dilution of the

weight of Plaintiffs’ votes, and (3) deprivation of Plaintiffs’ rights to the republican

form of government guaranteed by Article IV, section 4 of the Constitution.



40
 The term “including” shall always be read in this Complaint to mean “Including but not limited to” unless such
meaning does not make logical or grammatical sense in context or would result in a failure to state a claim upon
which relief could be granted.


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      143.   At all relevant times, Plaintiffs were acting as private citizens related

to their rights of suffrage and rights to a republican form of government.

      144.   Defendants’ conspiracy and conduct against Plaintiffs would deter a

person of ordinary firmness from continuing to engage in these protected

constitutional rights.

      145.   Plaintiffs’ protected constitutional rights were a substantial and

motivating factor for Defendants’ conspiracy and conduct to deprive them of their

rights.

      146.   Defendants’    decision   to    violate   Plaintiffs’   clearly   established

constitutional rights was not objectively reasonable in light of the circumstances.

      147.   Defendants’ conspiracy and conduct violated Plaintiffs’ clearly

established constitutional rights according to the standards set forth in relevant case

law relating to Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics,

403 U.S. 388 (1971)

      148.   Defendants’ conspiracy and conduct described herein caused severe

damages to Plaintiffs by depriving them of their Constitutional rights and subjecting

them to suffer the dominion and control of an illegitimate Congress, President, and

Vice President, which enacted Executive Orders, policies, and/or legislation in

violation of Plaintiffs’ rights to a government whose legitimate acts must be by

consent of the governed, a republican form of government.

      149.   Defendants’ conspiracy and conduct described herein caused Plaintiffs

to suffer severe damages, including mental anguish and emotional suffering.




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   F. COUNT SIX – Bivens claim for conspiracy and/or conduct to deprive
      of First Amendment rights.

       150.   Plaintiffs hereby incorporate all allegations in the foregoing paragraphs

as though fully set forth herein.

       151.   Defendants acts described herein, including but not limited to,

interfering with and/or retaliating against Plaintiffs for the free exercise of their First

Amendment rights to free speech by “controlling the flow of information” related to

Plaintiffs’ rights to speak about suspected fraud in the 2020 Federal Election and/or

to voice support for a particular political candidate and/or to express a political view

on social media; rights to petition the government for redress of grievances by the

relief sought herein and through verbal acts in protest of the illegitimate Congress

counting the Electoral College votes on January 6, 2021, whether at the Capitol in

person or on social media, and their rights to peaceably assemble in protest.

       152.   At all relevant times, Plaintiffs were acting as private citizens related

to matters of public concern.

       153.   Defendants acts against Plaintiffs would deter a person of ordinary

firmness from continuing to engage in their protected First Amendment rights.

       154.   Plaintiffs’ protected First Amendment rights were a substantial and

motivating factor for Defendants’ conduct to deprive them of their rights.

       155.   Defendants’    decision   to    violate   Plaintiffs’   clearly   established

constitutional rights was not objectively reasonable in light of the circumstances.

       156.   Defendants’ conspiracy and conduct violated Plaintiffs’ clearly

established constitutional rights according to the standards set forth in relevant case



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law relating to Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics,

403 U.S. 388 (1971)

      157.   Defendants’ conspiracy and conduct described herein caused Plaintiffs

to suffer severe damages, including mental anguish and emotional suffering.

                                         VI.
                                    CLASS ACTION

      158.   Plaintiffs hereby incorporate the allegations in the foregoing paragraphs

as though fully set forth herein.

      159.   Plaintiffs will soon file a motion for class action certification pursuant to

Fed. R. Civ. P. 26 making the following allegations.

      160.   There are one or more definable classes of persons injured by the conduct

of Defendants. One such class would include all persons who voted in the 2020

Federal Elections. Another such class or classes may include all persons against

whom Defendants conspired to deprive of various First Amendment rights or against

whom they acted in retaliation for the exercise thereof.          Truly, however, ALL

Americans are affected by the deprivation of a republican form of government. So the

most obvious class is, quite simply, all American citizens.

      161.   The classes to be certified are so numerous that joinder of all members

is impracticable. Indeed there are roughly 328 million Americans, and over 150

million Americans voted in the 2020 Federal Elections. The number of potential class

members whose First Amendment rights were violated by Defendants’ conspiracy

and conduct is likely so numerous that it cannot reasonably be estimated. There are

at least 75 million Americans who supported Donald Trump and were likely victims



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of Defendants conduct, as described herein and in Secret History, in additional to

tens of millions of Bernie Sanders supporters who were similarly victimized.

      162.    The questions of law and fact are common to each putative class since

the class members have suffered the same injuries by the same or similar conduct of

the Defendants.

      163.    The putative classes have claims that are typical of all class members.

      164.    Plaintiffs,   as   members   of   the   various   proposed    classes,   are

representatives with interests that are common to the classes and will fairly and

adequately protect the interests of the putative classes. There is no conflict of interest

between Plaintiffs and the members of the putative classes.

      165.     Plaintiffs have competent counsel. Plaintiffs’ undersigned lead counsel

has over 10 years of relevant and extensive experience in the issues concerning this

Lawsuit.     Such experience includes litigating multiple federal court class and

collective actions in the areas of employment law, complex commercial, and complex

chapter 11 bankruptcy litigation as an associate and later senior attorney for two

large national law firms over an 8-year span.         Lead counsel gained additional

valuable first-chair courtroom and litigation experience as an associate in a boutique

commercial litigation for roughly 18 months before returning to large-firm practice.

      166.    The practice of employment law is, in large part, the practice of civil

rights and constitutional rights. Counsel’s experience has included mostly outside

counsel work but also includes, as is certainly well-known by now, in-house counsel

and human resource management for a workforce of over 1,000 employees.




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       167.   Counsel’s   experience   in   researching   and   analyzing    issues   of

constitutional law dates back to law school at The University of Texas at Austin,

where he was associate and later senior editor for the Texas Review of the Law and

Politics, which regularly publishes scholarly articles on such issues. Counsel also has

been mentored extensively by various litigators and appellate lawyers in these fields

with many years of experience. Said counsel has been lead counsel or has effectively

acted as lead counsel on multiple complex federal court lawsuits including class or

collective actions.

       168.   An organization is being set up to recruit attorneys to assist undersigned

Counsel in recruiting other attorneys to assist when the court grants class action

certification. Counsel is confident that this organization will be able to recruit more

than enough other attorneys to assist him and his staff with this lawsuit going

forward to represent the classes to be certified.

                            VII.
 APPLICATION FOR INJUNCTIVE RELIEF, INCLUDING A TEMPORARY
RESTRAINING ORDER, PRELIMINARY INJUNCTION, AND PERMANENT
                       INJUNCTION

       169.   Plaintiffs hereby incorporate the allegations in the foregoing paragraphs

as though fully set forth herein.

   A. Requesting the Court merely do its duty to enforce the Constitution
      should not be controversial, especially when compared to the
      immediate and irreparable harm that will be suffered by Plaintiffs.

       170.   Plaintiffs’ plea before this Honorable Court is to now join with them, in

this current constitutional crisis of an unlawfully elected Congress and President,

when all other safeguards set forth in the Constitution of the United States for checks



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and balances on unlimited, tyrannical government power have been breached, to

muster merely a fraction of the courage displayed by the Founding Fathers of our

Republic, who so willingly and boldly sacrificed their blood, their tears, their fortunes,

whether meager or vast, and even their very lives, to win their freedom from a

tyrannical monarchy across the ocean.

         171.     Plaintiffs would point out that granting the injunctive relief requested

herein is actually very reasonable and should not be controversial. Neither should it

even take much courage. At a time when at least 60% of Americans are sick and tired

of the corrupt two-party system because the “parties do such a poor job representing

the American people,”41 the Court would not actually be “going against the grain,”

but would merely be officially recognizing what most Americans already know to be

true: the two-party system is corrupt and is not working for the American people. In

2020, its corrupt nature actually resulted in the deprivation of the Plaintiffs’

constitutional rights described herein.

         172.     Where our Founding Fathers laid down their lives for the freedom to

have a representative, republican form of government, by comparison, it does not

seem like much to ask of the Court to merely enforce these rights that were earned

by the shedding of blood in a brutal war with the British and later enshrined in the

document we know to be the Constitution of the United States.




41
  Jeffrey M. Jones, Support for Third U.S. Political Party at High Point, Gallup (February 15, 2020); Gabrielle
Schulte, Poll: 60 percent of voters say a viable third party is need to have an effective political system, The Hill
(Sept. 18, 2020).


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     B. Plaintiffs are entitled to injunctive relief against Defendants on the
        following grounds:

         173.     Plaintiffs will certainly suffer immediate and irreparable harm

if the Court does not immediately enter the injunctive relief requested herein.42                                     If

the Defendants, and the illegitimate Congress and President their actions installed,

are able to continue govern the Republic, it will cease to be a republic. It may become

a true RINO “republic in name only” in the sense that the “People’s Republic of China”

contains the word “Republic,” although it is common public knowledge that the China

does not in any way belong to its people.

         174.     It belongs to a tyrannical, authoritarian, communist police state that

engages in atrocities against humanity, including the active persecution of

proponents of free speech, democracy, persons of faith, and anyone else who poses a

view that does not demonstrate absolute and unquestioning loyalty to the state and

whatever ideologies it chooses to cram down the throats of its citizens. The risk of

the United State government descending into such an oppressive police state is

tangible and imminent if the government ceases to be accountable to the People, as

occurred in the illegal 2020 Federal Election.

         175.     Furthermore, as set forth in Exhibit 4, if the Court does not grant a

restraining order against the illegitimate Congress and President-Elect and order a

new, lawful election, the economy of the United States will and already has become


42
  Fed. R. Civ. P. 65(b)(1); Fairchild Semiconductor Corp. v. Third Dimension (3D) Semiconductor, Inc., 564 F. Supp.
2d 63, 66–68 (D. Me. 2008); Nw. Airlines, Inc. v. Bauer, 467 F. Supp. 2d 957, 963–64 (D.N.D. 2006); see Winter v.
Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008).


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unstable and will cease to be a “safe haven” for financial investors. If investors come

to view their investments in assets held in the United States as inherently unstable

due to the Constitutional Crisis, it is clear that would have a devastating effect on

the Plaintiffs’ ability to plan for retirement by investing in 401(k)s, IRAs, or other

such accounts.

      176.   Indeed, confidence in the U.S. Dollar has likely never been lower and

petroleum prices are beginning to sharply spike. Not only does this result in the

severe depletion of the savings of working-class Americans, but it exposes all

Americans to acts of terrorism and the risk of losing loved-ones proudly serving in

the military to death and injury in foreign military conflicts.

      177.   As will be set forth in a new expert report to be attached to a forthcoming

motion for temporary restraining order, the price of oil directly affects the

capabilities of the enemies of the United States to carry our terrorism and

military campaigns in the middle east. President Trump’s energy policy made

the United States energy-independent. The resulting fall in oil prices crippled the

government of Russia, which, at the time President Trump took office, had a break

even budget tied to oil being $100 per barrel. During President Trump’s tenure, the

resulting fall in oil prices defunded Russia’s military such that they could not exert

influence in the middle east, as they had for decades.

      178.   The Court should note that President Trump was the first President to

keep the United States from getting involved in a new military conflict in over 40

years, thus saving the lives of countless members of America’s armed services.




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Moreover, the Court should note that ISIS, all but disappeared from existence during

this same time. This was not some sort of “magic wand” waved by President Trump,

but rather the result of a sound energy policy that had the effect of defunding

America’s adversaries abroad. The historic peace deal between Israel and the UAE

came after an unprecedented time of relative world peace.

         179.     Now, the slew of executive orders from Mr. Biden, including policies

such as ending the XL Pipeline, which not only put oilfield workers in the

unemployment lines, but is clearly having an effect as oil prices continue to rise. No

doubt, Russia and ISIS are licking their chops. If the Court fails to act to enforce the

Constitution, it will only get worse. An amnesty bill is now imminent which will all

but erase our borders, and legislation is already in the works to deprive Americans of

their Second Amendment right to defend themselves as times get more desperate.

How long until Americans can take no more and resort to unprecedented

forms of self-help in the wake of our Courts’ abdication of their role to uphold

the rule of law?

         180.     Thus, there is no adequate remedy at law43 because it would be

impossible to calculate an appropriate amount of monetary damages that would

compensate Plaintiffs for such harm. Indeed, no one could even guarantee that

Defendants would have sufficient financial assets available for legal damages if the

U.S. financial market experience prolonged instability or even total collapse,

especially given that the U.S. Government is close to $30 trillion in debt. It is also


43
  Prudential Ins. Co. of Am. v. Inlay, 728 F. Supp. 2d 1022, 1030–31 (N.D. Iowa 2010); see Ruggieri v. M.I.W. Corp.,
826 F. Supp. 2d 334, 336 (D. Mass. 2011).


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obvious that the risk of permanent deprivation of the right to vote in federal elections,

which could be lost forever if the Defendants are not restrained from further action

and the Acts of Congress, taken after January 3, 2021 are not restrained from having

legal effect.

        181.     Congress has already acted to propose the “For the People Act,” which

guts HAVA and the 1960 CRA and provides for nationwide mail-in voting! While the

Courts are busy holding that state officials have such “sovereign” power over elections

that they can change the rules in the middle of the game (as in many of the

presidential election cases), Congress is busy making it so that the states will forever

lose the power to protect their citizens’ rights to free and fair elections by denying

states the right to limit inherently unsecure mail-in voting in federal elections.

        182.     There is a substantial likelihood that Plaintiffs will prevail on

the merits of their claims.44 Plaintiffs’ probably right to relief is probable clearly

demonstrated in the foregoing allegations.

        183.     The threatened harm to Plaintiffs outweighs the harm that the

injunctive relief would inflict on Defendants.45 It is self-evident that the loss of

the right to government by consent of the governed is far worse than any harm

Defendants may suffer if the Court grants the injunctive relief requested herein. God

forbid (sarcastic) Defendants may not be able to pass a new law or sign a new

executive order not necessary to the continuity of government. Indeed, the only harm



44
  Prudential Ins. Co., 728 F. Supp. 2d at 1029; Fairchild Semiconductor Corp., 564 F. Supp. 2d at 66–67.
45
  Prudential Ins. Co., 728 F. Supp. 2d at 1031–32; Fairchild Semiconductor Corp., 564 F. Supp. 2d at 66; see Schiavo
ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1225–26 (11th Cir. 2005).


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that would be suffered by Defendants is harm to their pride that their illegitimate

power will be temporarily limited until a jury of Americans can hear the evidence.

         184.     Issuance of the injunctive relief would not adversely affect the

public interest and public policy.46 It is self-evident that preventing the loss of

the right to government by consent of the governed is in the public interest.

         185.     The Court should enter this injunctive relief, including a

temporary restraining order with or without notice to Defendants, because

Plaintiffs will likely suffer further immediate and irreparable injury, loss, or damage

if the order is not granted before Defendants can be heard. Plaintiffs will file a motion

requesting special appointment for service of process, however, the vast list of

Defendants in disparate geographical locations makes service of process on all

Defendants impracticable compared to the urgent need for immediate relief.

         186.     Moreover, given that the allegations and evidence revealed in this

Complaint could result in federal criminal prosecutions for various high crimes and

misdemeanors, including but not limited to sedition, treason, racketeering,

malfeasance by public officials, wire fraud, mail fraud, etc., there is a high risk that

Defendants will destroy evidence prior to being given notice of injunctive relief once

they are forced to take this lawsuit seriously.

         187.     Plaintiffs will request issuance of summons and practicable methods of

service for the Defendants.                 However, service of each Defendant is likely not

practicable prior to the time within which a Temporary Restraining Order should be


46
  Prudential Ins. Co., 728 F. Supp. 2d at 1032; Midwest Retailer Associated, Ltd. v. City of Toledo, 563 F. Supp. 2d
796, 812 (N.D. Ohio 2008).


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granted, which is immediately. The federal officials named in and subject to the relief

requested in this lawsuit continue to take dramatic action to drastically change the

policies and laws of this country in violation of Plaintiffs’ and the putative class

members’ constitutional rights.

           188.     Accordingly Plaintiffs request a temporary restraining order consistent

with the relief described herein47 with notice or, alternatively, without notice to

Defendants and preliminary and permanent injunctions against Defendants in a

form of order to be attached to a separately filed motion for temporary restraining

order. After 14 to 28 days, Plaintiffs request entry of a preliminary injunction, upon

a hearing thereof that should last until trial, at which time Plaintiffs request entry

of a permanent injunction consistent with the relief requested herein.

                                              VIII.
                                      ATTORNEYS’ FEES & COSTS

           189.     Plaintiff are entitled to an award of attorney fees and costs under 42

U.S.C. § 1988(b) and hereby plead for the same.




                                                  IX.
                                           PRAYER FOR RELIEF

WHEREFORE, Plaintiffs, upon jury trial of this matter, plead for judgment against

Defendants for the following:

       a. Permanent injunctive relief in the form of a new federal election for Congress;




47
     Specific reference is made to in subsection “I,I” Conclusion to the Introduction


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       b. After the new Congress is seated, a new process to fill the vacancies of the
          offices of President and Vice President pursuant to Title 3, Chapter 1 of the
          United States Code, which were never lawfully filled;

       c. Permanent injunctive relief forever restraining Defendants from ever holding
          public office or participating in any way in an election campaign to public office
          other than exercising their own right to vote;

       d. Permanent injunctive relief forever restraining Defendants from violating
          Plaintiffs constitutional rights described herein,

       e. General Damages in an amount to be determined at the time of trial;

       f. Punitive Damages in an amount to be determined at the time of trial;

       g. Reasonable attorneys fees’ and costs of suit;

       h. Prejudgment and postjudgment interest.

And all other general and special relief, whether at law or in equity as the Court may

deem necessary or proper to which the Plaintiffs may be justly entitled.

Respectfully submitted to the Honorable Court this 22nd day of February, 2021



                                                         /s/ Paul M. Davis
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                                                         ATTORNEY FOR PLAINTIFFS




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     Certificate of Incorporation submitted to Texas Secretary of State, filing pending.


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